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                                    Gregory Demo                 December 24, 2020                          212-561-7700
                                                                                                       gdemo@pszjlaw.com

N E W Y O R K, N Y
L O S A N G E L E S, C A
S A N F R A N C I S C O, C A
W I L M I N G T O N, D E

780 THIRD AVENUE
34th FLOOR
NEW YORK
                                    Via E-mail
NEW YORK 10017-2024
                                    James A. Wright III
TELEPHONE: 212/561 7700
                                    K&L Gates LLP
FACSIMILE: 212/561 7777
                                    State Street Financial Center
                                    One Lincoln Street
                                    Boston, Massachusetts 02111

                                    A. Lee Hogewood III
                                    K&L Gates LLP
                                    4350 Lassiter at North Hills Ave.
                                    Suite 300
                                    Raleigh, North Carolina 27609
LOS ANGELES
10100 SANTA MONICA BLVD.                      Re:     In re Highland Capital Management, L.P., Case
13th FLOOR                                            No. 19-34054-sgj (Bankr. N.D. Tex)
LOS ANGELES
CALIFORNIA 90067
                                    Dear Counsel:
TELEPHONE: 310/277 6910

FACSIMILE: 310/201 0760
                                            As you know, we represent Highland Capital Management,
                                    L.P. (the “Debtor”), the debtor-in-possession in the above-captioned
SAN FRANCISCO
                                    bankruptcy case.
150 CALIFORNIA STREET
15th FLOOR
SAN FRANCISCO                               On December 8, 2020, your firm filed that certain Motion for
CALIFORNIA 94111-4500               Order Imposing Temporary Restrictions on Debtor’s Ability, as
TELEPHONE: 415/263 7000             Portfolio Manager, to Initiate Sales by Non-Debtor CLO Vehicles
FACSIMILE: 415/263 7010             [D.I. 1528] (the “Motion”)1 on behalf of Highland Capital
                                    Management Fund Advisors, L.P., NexPoint Advisors, L.P.,
DELAWARE                            Highland Income Fund, NexPoint Strategic Opportunities Fund, and
919 NORTH MARKET STREET
                                    NexPoint Capital, Inc. (collectively, the “Movants”). After hearing
17th FLOOR
P.O. BOX 8705
                                    the sworn testimony of the Movants’ witness and the arguments
WILMINGTON                          made on the Movants’ behalf, Judge Jernigan found that the Motion
DELAWARE 19899-8705                 was “a very, very frivolous motion” and that your firm “wasted [her]
TELEPHONE: 302/652 4100

FACSIMILE: 302/652 4400
                                    1
                                      All capitalized terms used but not defined herein shall have the meanings given
                                    to them in the Motion.
WEB:   www.pszjlaw.com


                                    DOCS_NY:41827.7 36027/002

                                                                                             EXHIBIT 5
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                       James A. Wright III
                       A. Lee Hogewood III
                       December 24, 2020
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                       time.” (Transcript, 64:5-12) An order was entered denying the
                       Motion on December 18, 2020 [D.I. 1605].

                               On December 22, we received the letter attached as Exhibit
                       A (the “Letter”) from your firm on behalf of the Movants and CLO
                       Holdco, Ltd. (an entity affiliated with James Dondero) re-asserting
                       almost verbatim the frivolous arguments raised in the Motion.
                       Concurrently, we received notice that certain of the Movants’
                       employees would not settle trades on behalf of the CLOs that were
                       authorized by the Debtor acting in its capacity as the CLOs’
                       portfolio manager. The Movants’ employees who interfered with
                       the Debtor’s directions justified their conduct by asserting – again
                       almost verbatim – the frivolous arguments raised in the Motion.

                              The Movants have caused the Debtor to incur substantial
                       costs defending itself against the Motion and preparing to defend
                       against the frivolous suits forecasted in the Letter. The Debtor
                       demands that the Movants withdraw the letter by 5:00 p.m. CT on
                       Monday, December 28, 2020, and confirm that the Movants and
                       anyone acting on their behalf will take no further steps to interfere
                       with the Debtor’s directions as the CLOs’ portfolio manager. If the
                       Movants fail to timely comply with these demands, the Debtor shall
                       seek prompt judicial relief, including seeking sanctions under
                       Federal Rule of Bankruptcy Procedure 9011.

                               The Debtor reserves all rights it may have, whether in law
                       equity, or contract, including the right to seek reimbursement of any
                       and all fees and expenses incurred in seeking sanctions.

                               Please feel free to contact me with any questions.

                                                        Sincerely,


                                                          Gym
                                                        Gregory Demo

                       Enclosure
                       cc:    Jeffrey Pomerantz, Esq.
                              Ira Kharasch, Esq.
                              John Morris, Esq.
                              John J. Kane, Esq.



                       DOCS_NY:41827.7 36027/002

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                                   Exhibit A




                                                                EXHIBIT 5
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December 22, 2020                                                           A. Lee Hogewood, III
                                                                            Lee.hogewood@klgates.com

                                                                            T: 1-919-743-7306




Jeffrey N. Pomerantz
Ira D. Kharasch
John A. Morris
Gregory V. Demo
Hayley R. Winograd
Pachulski Stang Ziehl & Jones, LLP
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067

Dear Counsel:

        I am writing to you on behalf of our clients Highland Capital Management Fund Advisors, L.P.
(“HMCFA”) and NexPoint Advisors, L.P. (“NexPoint”, and together with HCMFA, the “Advisors”), and
Highland Income Fund, NexPoint Strategic Opportunities Fund, and NexPoint Capital, Inc. (together, the
“Funds”). CLO Holdco, Ltd. ("CLO Holdco") whose counsel is copied below, joins in this notice and
request.

        As you are aware, certain registered investment companies and a business development
company managed by either NexPoint or HCMFA own preference shares in many of the CLOs. In the
following cases those companies own a majority of such shares 1:

    •   Stratford CLO, Ltd. 69.05%
    •   Grayson CLO, Ltd. 60.47%
    •   Greenbriar CLO, Ltd. 53.44%




1
 These ownership percentages are derived from information provided by the Debtor. If the Debtor contends that
the ownership percentages are inaccurate, please inform us of the Debtor’s differing calculations.




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        In other cases, such companies in combination with CLO Holdco hold all, a super-majority, or a
majority of the preference shares in the following CLOs:

       •   Liberty CLO, Ltd. 70.43%
       •   Stratford CLO, Ltd. 69.05%* 2
       •   Aberdeen Loan Funding, Ltd. 64.58%
       •   Grayson CLO, Ltd. 61.65%*
       •   Westchester CLO, Ltd. 58.13%
       •   Rockwall CDO, Ltd. 55.75%
       •   Brentwood CLO, Ltd. 55.74%
       •   Greenbriar CLO, Ltd. 53.44%*

           Additionally, such companies own significant minority stakes in the following CLO’s:

       •   Eastland CLO, Ltd. 41.69%
       •   Red River CLO, Ltd. 33.33%

        The ownerships described above represent in many cases the total remaining outstanding
interests in such CLOs, because the noteholders have been paid in full. In others, the remaining
noteholders represent only a small percentage of remaining interests. Thus, the economic ownership of
the registered investment companies, business development company, and CLO Holdco largely
represent the investors in the CLOs identified above.

         Contractually, the Debtor is obligated to maximize value for the benefit of the preference
shareholders. Accordingly, we respectfully request that no further dispositions of CLO interests occur
pending the confirmation hearing. While we recognize the Court denied the Advisor and Funds motion
on this subject, the Court did not require liquidations occur immediately, and we reserve all rights to
and remedies against the Debtor should the Debtor continue to liquidate CLO interests in contravention
of this joint request. Given the Advisor, Funds, and CLO Holdco's requests, it is difficult to understand
the Debtor's rationale for continued liquidations, or the benefit to the Debtor from pursuing those sales.

         As you know, HCMLP’s duties are set forth in the portfolio management agreements of the
CLOs, which themselves have been adopted under the Investment Advisers Act of 1940 (“Advisers Act”).
As HCMLP readily admits, it is: (i) terminating employees on January 31, 2021, which will result in a loss
of the employees that have traditionally serviced those CLOs; (ii) ignoring the requests of the Advisors,
Funds, and CLO Holdco, which together account for all or a majority of interests in certain CLOs, and
selling assets of those CLOs prior to plan-confirmation; and (iii) adding a replacement manager as
subadviser prior to January 31, 2021. The Advisors, Funds, and CLO Holdco assert that those actions run
in contravention to HCMLP's duty to maximize value for the holders of preference shares and thus what
HCMLP has agreed to under the portfolio management agreement, as well as its duties under the
Advisers Act, which ultimately will adversely impact the economic owners noted above.


2
    CLO’s marked with an asterisk (*) appear in the foregoing list as well.




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         For the forgoing and other reasons, we request that no further CLO transactions occur at least
until the issues raised by and addressed in the Debtor’s plan are resolved at the confirmation hearing.



Sincerely,

A. Lee Hogewood, III
A. Lee Hogewood, III




                                                                                  EXHIBIT 5
